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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on November 10, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-195 (TFH)
v.
DEBORAH SANDOVAL, and : VIOLATIONS:
SALVADOR SANDOVAL JR., : 18 U.S.C. § 231(a)(3)
: (Civil Disorder)
Defendants. : 18 U.S.C. § 111(a)()
; (Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2))

(Act of Physical Violence in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:

COUNT ONE
On or about January 6, 2021, within the District of Columbia, SALVADOR SANDOVAL

JR., committed and attempted to commit an act to obstruct, impede, and interfere with law

enforcement officers, that is, officers from the Metropolitan Police Department, lawfully engaged
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in the lawful performance of his official duties, incident to and during the commission of a civil
disorder which in any way and degree obstructed, delayed, and adversely affected commerce and
the movement of any article and commodity in commerce and the conduct and performance of any
federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, at approximately 3:18 PM, within the District of Columbia,
SALVADOR SANDOVAL JR., did forcibly assault, resist, oppose, impede, intimidate, and
interfere with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), and any person assisting such an
officer and employee, that is, an officer from the Metropolitan Police Department, while such
person was engaged in and on account of the performance of official duties, and where the acts in
violation of this section involve physical contact with the victim and the intent to commit another
felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT THREE
On or about January 6, 2021, at approximately 3:25 PM, within the District of Columbia,
SALVADOR SANDOVAL JR., did forcibly assault, resist, oppose, impede, intimidate, and
interfere with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), and any person assisting such an
officer and employee, that is, an officer from the Metropolitan Police Department, while such

person was engaged in and on account of the performance of official duties, and where the acts in
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violation of this section involve physical contact with the victim and the intent to commit another
felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT FOUR

On or about January 6, 2021, at approximately 3:25 PM, within the District of Columbia,
SALVADOR SANDOVAL JR., did forcibly assault, resist, oppose, impede, intimidate, and
interfere with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), and any person assisting such an
officer and employee, that is, an officer from the Metropolitan Police Department, while such
person was engaged in and on account of the performance of official duties, and where the acts in
violation of this section involve physical contact with the victim and the intent to commit another
felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT FIVE

On or about January 6, 2021, at approximately 3:27 PM, within the District of Columbia,
SALVADOR SANDOVAL JR., did forcibly assault, resist, oppose, impede, intimidate, and
interfere with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), and any person assisting such an
officer and employee, that is, an officer from the Metropolitan Police Department, while such
person was engaged in and on account of the performance of official duties, and where the acts in
violation of this section involve physical contact with the victim and the intent to commit another
felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))
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COUNT SIX
On or about January 6, 2021, within the District of Columbia and elsewhere, SALVADOR
SANDOVAL JR., attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the
Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, DEBORAH SANDOVAL
and SALVADOR SANDOVAL JR., did knowingly enter and remain in a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President was temporarily visiting, without lawful
authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, DEBORAH SANDOVAL

and SALVADOR SANDOVAL JR., did knowingly, and with intent to impede and disrupt the
orderly conduct of Government business and official functions, engage in disorderly and disruptive
conduct in and within such proximity to, a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President was temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))
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COUNT NINE
On or about January 6, 2021, within the District of Columbia, SALVADOR SANDOVAL
JR., did knowingly engage in any act of physical violence against any person and property in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was temporarily
visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT TEN
On or about January 6, 2021, within the District of Columbia, DEBORAH SANDOVAL
and SALVADOR SANDOVAL JR., willfully and knowingly engaged in disorderly and
disruptive conduct in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House
of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT ELEVEN
On or about January 6, 2021, within the District of Columbia, DEBORAH SANDOVAL

and SALVADOR SANDOVAL JR., willfully and knowingly paraded, demonstrated, and
picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))
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COUNT TWELVE
On or about January 6, 2021, within the District of Columbia, SALVADOR SANDOVAL
JR., willfully and knowingly engaged in an act of physical violence within the United States
Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

Mdther, Created, fpwt-

Attorney of the United States in
and for the District of Columbia.
